               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


In re:
                                                    Case No. 24-47922-tjt
HERITAGE COLLEGIATE APPAREL,
INC.,                                               Chapter 11
f/k/a M-DEN, INC., d/b/a The M Den,
                                                    Judge Thomas J. Tucker
                           Debtor.



        THE REGENTS OF THE UNIVERSITY OF MICHIGAN’S
   OBJECTION TO DEBTOR’S MOTION FOR ENTRY OF AN ORDER (I)
      APPROVING LIDS HOLDINGS, INC., OR ITS DESIGNATED
  SUBSIDIARY AS STALKING HORSE BIDDER, (II) AUTHORIZING THE
   DEBTOR’S ENTRY INTO AN ASSET PURCHASE AGREEMENT, (III)
    AUTHORIZING THE SALE OF THE DEBTOR’S ASSETS FREE AND
   CLEAR OF ALL ENCUMBRANCES, (IV) APPROVING CERTAIN BID
       PROCEDURES, BID PROTECTIONS AND DEADLINES, (V)
               SCHEDULING A SALE HEARING, AND
                (VI) GRANTING RELATED RELIEF

         The Regents of the University of Michigan (the “University of Michigan”), a

 Michigan constitutional corporation, by counsel, files this Objection (the

 “Objection”) to Debtor Heritage Collegiate Apparel, Inc.’s (“Debtor”) Motion for

 Entry of an Order (I) Approving Lids Holdings, Inc., or its Designated Subsidiary

 as Stalking Horse Bidder, (II) Authorizing the Debtor’s Entry into an Asset

 Purchase Agreement, (III) Authorizing the Sale of the Debtor’s Assets Free and

 Clear of All Encumbrances, (IV) Approving Certain Bid Procedures, Bid


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Protections and Deadlines, (V) Scheduling a Sale Hearing, and (VI) Granting

Related Relief (the “Bid Procedures Motion”). The University of Michigan objects

to the Bid Procedures Motion to the extent that it proposes to allow the sale of

intellectual property owned by the University of Michigan. The University of

Michigan also objects to the aggressive timeline and break-up fee set forth in the

Bid Procedures Motion.

                                      I. Background

      1.     The University of Michigan is an interested party in Debtor’s

bankruptcy case both as a creditor and because Debtor has infringed, and has

signaled through the Bid Procedures Motion that it plans to continue to infringe,

the University of Michigan’s intellectual property rights.

      2.     Debtor and the University of Michigan were parties to an agreement

dated July 1, 2009, as amended (“2009 Agreement”), an agreement dated effective

as of June 2010, as amended (“2010 Agreement”), and a forbearance agreement

dated effective as of May 13, 2024 (“Forbearance Agreement”). Copies of the

2009 Agreement, 2010 Agreement, and Forbearance Agreement are collectively

referred to herein as the “Agreements” and are attached hereto as Exhibits 1, 2, and

3, respectively.

      3.     As set forth in the Agreements, the University of Michigan

      is the owner of certain trademarks, service marks, trade names, colors,
      seals, and symbols which have become associated with the University,
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      used by the University in commerce, non-exclusively licensed by the
      University to third parties for use in commerce, and on some of which
      U.S. or state trademark registrations have been obtained (the “Marks”
      as more fully described below).

[See Exhibit 1, 2009 Agreement, Recitals at ¶ 1.]

      4.     Debtor has acknowledged and agreed that:

      the University has all right, title, and interest in and to and is the sole
      and exclusive owner of the Marks, the goodwill associated with the
      Marks, and all United States and foreign registrations thereon. Marks
      shall mean any and all of the trademarks, service marks, trade names,
      school colors, seals, and/or symbols of the University, whether now
      owned or developed or acquired in the future, which have or which
      become associated with the University, used by the University in
      commerce, and/or licensed to [Debtor] or third parties for use in
      commerce, whether registered or unregistered in the United States or
      the world, including, without limitation, the “M” in the name “M-
      Den.” [Debtor] agrees that it has no proprietary interest in the Marks
      and that all use of the Marks shall inure to the benefit of the
      University. . . [Debtor] agrees that it will not contest, oppose or
      challenge the University’s use or ownership of the Marks.

[See Exhibit 1, 2009 Agreement, at ¶ 1(b) (emphasis added).]

      5.     The Agreements granted Debtor, among other things, rights to use

certain of the Marks.

      6.     Further, the University of Michigan granted Debtor “the right, subject

to the terms and conditions of [the 2009 Agreement] to use the description “M-

Den” (part of the Marks) solely as a corporate name to identify its approved retail

locations and to identify its internet website (www.mden.com) , and its catalogs . .

. No other right to use the Marks is granted to [Debtor].”. [Id. at ¶ 3(a).]


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      7.     Debtor was “permitted to use only the Marks described above” and

“only in the manner authorized and permitted by the University in [the 2009

Agreement] . . . .” [Id. at ¶ 3(b).] To that end, Debtor was only authorized in the

2009 Agreement to use the Marks for operation of its retail locations, website and

catalogs (as approved by the University), and in accordance with Appendix A of

the 2009 Agreement.

      8.     Importantly, Debtor was not permitted to use “M-Den” or the Marks

as part of its corporate name, but instead, was authorized to utilize “M-Den” only

as an assumed name and solely during the term of the 2009 Agreement. [Id. at

¶ 3(e)]. Upon the termination of the 2009 Agreement, Debtor was to terminate its

assumed name and no longer do business under the name “M-Den”. [Id.] The

University of Michigan also originally agreed that it would not use or license to

others the M-Den name after termination of the 2009 Agreement; however, the

University of Michigan received the right to use or license the M-Den name to a

third-party through the Forbearance Agreement.           [Id.; see also Exhibit, 3,

Forbearance Agreement, ¶ 1(a).]

      9.     Additionally, the Agreements contained anti-assignment language,

prohibiting Debtor from assigning its licensing rights to a third party. [See Exhibit

1, 2009 Agreement, Acknowledgements (4)(d) (“This Agreement cannot be

assigned by [Debtor], either directly or indirectly, including, but not limited to,


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through the transfer of any ownership interest in [Debtor], without the prior written

consent of the University.”)]

      10.    In June of 2010, the University of Michigan and Debtor entered into

the 2010 Agreement whereby, among other things, Debtor was to act as the official

merchandise retailer for the Athletics Department for the University of Michigan.

[See Exhibit 2, 2010 Agreement.]

      11.    The 2010 Agreement also confirmed that Debtor only had the right to

use the M-Den name until a change in control or termination of the 2009

Agreement. [See Exhibit 2, 2010 Agreement, §2.4].

      12.    Due to Debtor’s material breaches of the Agreements, the University

of Michigan sent a notice of termination of the Agreements on February 7, 2024,

stating that termination would be effective March 11, 2024, and that beginning on

that date, among other things, Debtor must not operate under the name M-Den. A

copy of the notice of termination (“Termination Notice”) is attached hereto as

Exhibit 4.

      13.    The University of Michigan gave Debtor several extensions of the

Agreements’ termination deadline while the parties negotiated the sale of Debtor’s

assets and the cure of Debtor’s breaches. Effective May 13, 2024, the University

of Michigan and Debtor entered into the Forbearance Agreement, pursuant to

which the University of Michigan agreed to forebear from exercising its rights


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under the Agreements in order to give Debtor an opportunity to negotiate terms for

the sale of its inventory and other assets while operating as a going concern. [See

Exhibit 3.]

      14.     Pursuant to the Forbearance Agreement, Debtor confirmed that it

irrevocably assigned any rights it had, if any, to the M-Den name and URL to the

University of Michigan, and further agreed that the University of Michigan owned

all right, title, and interest to the M-Den name and URL (mden.com). Specifically,

in the Forbearance Agreement, Debtor agreed that the University of Michigan had

the right to use or license the M-Den name after termination of the Agreements

“for any purpose”. [See Exhibit 3, Forbearance Agreement, at ¶ ¶ 1(a), 2(a).]

Importantly, pursuant to the Forbearance Agreement, Debtor’s right to use the M-

Den name was strictly limited to the term of the Forbearance Agreement, following

the termination of which, Debtor was to “immediately cease all use of the M-Den

name.”

      15.     Before the Petition Date, as described above, the University of

Michigan terminated the 2009 Agreement and 2010 Agreement with Debtor.

      16.     Also before the Petition Date, the University of Michigan contacted

Debtor to demand that it stop infringing on the University of Michigan’s

intellectual property rights, including by sending the cease and desist letter dated

August 15, 2024 (“Cease and Desist Letter”) attached hereto as Exhibit 5.


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        17.   On August 16, 2024, prior to the filing of the Petition, Debtor

terminated the assumed name “The M Den” 1.

        18.   Despite Debtor no longer having any rights to continue using the

University of Michigan’s intellectual property or to assert in any manner any

ownership or control of the “M-Den” name, the Bid Procedures Motion seeks to

sell substantially all of the assets of Debtor, free and clear of liens, claims, and

encumbrances, inclusive of “all intellectual property, including the right to use the

“M Den” name – if any, and . . . all claims or causes of action related to the right to

use the “M Den” name.” [See the Bid Procedures Motion at ¶ 27.]

        19.   The Bid Procedures Motion proposes to conduct this sale on an overly

aggressive timeline that provides insufficient notice periods to parties in interest.

[See Id., at Proposed Order, ¶ 5].

        20.   The Bid Procedures Motion also includes a proposed break-up fee to

the Stalking Horse Bidder in the amount of $225,000 (“Break-Up Fee”). [See Id.,

at ¶ 69].




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 Debtor had previously changed its name from M-Den, Inc. to Heritage Collegiate
Apparel, Inc.
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                                       II. Argument

        a.     The Bid Procedures Motion improperly suggests that Debtor is
               selling the University of Michigan’s property.

        21.    Bankruptcy Code section 363 authorizes a debtor to convey only a

property interest of the debtor. 11 U.S.C. § 363(b)(1) (“The trustee, after notice

and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate . . .”) (emphasis added); see also, In re Cattron, 651 B.R.

205, 214 (Bankr. E.D. Mich., 2023) (recognizing that “[u]nder § 363, the Debtor

may only use, sell, or lease property that is property of the estate”) (citations

omitted); see also Anderson v. Connie, 203 F.3d 855, 863 (5th Cir. 2000) (trustee

could not sell property owned by debtor’s former spouse); see also Darby v. P.J.

Zimmerman, 323 B.R. 260, 271 (B.A.P. 9th Cir. 2005) (relief granted in sale order

was not authorized by section 363 when the debtor attempted to “expropriate non-

estate property”); In re Manning, 831 F.2d 205, 212 (10th Cir. 1987) (trustee

lacked authority under section 363(f) to sell partnership assets that were not

property of the estate).

        22.    There is no dispute that the M-Den name is the University of

Michigan’s property2 rather than “property of the estate” that can be sold under

Bankruptcy Code § 363. See In re Portrait Corp. of Am, Inc., 406 B.R. 637, 642

(Bankr. S.D.N.Y. 2009) (“the Debtors could not have sold to CPI what they did not

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    See 2009 Agreement, at ¶ ¶ 3(a) and 3(e); Forbearance Agreement at ¶ 1(a).
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at least colorably own” and therefore, if Debtors did not own the trademark, “they

could not have sold it free and clear of” the licensor’s interest).       Trademarks

protect their owners against unfair competition, permit them to build a business

around trade names by which their articles are known, and establish good will that

is valuable to the trademark owner. Champion Spark Plug Co. v. Champion, 23

F.Supp. 638 (E.D. Mich., 1938).

      23.    The 2009 Agreement expressly provided that Debtor retained no

further interest in the M-Den name after termination. To the extent there was any

outstanding question as to the ownership and/or Debtor’s continued use of the M-

Den name, the Forbearance Agreement made it abundantly clear that Debtor

transferred any remaining rights to the University of Michigan as of the effective

date, May 13, 2024. [See Forbearance Agreement at ¶ 1(a)].

      24.    Likewise, the 2010 Agreement confirms that Debtor has no right to

use, assign, sell or otherwise grant any rights in the M-Den name after termination

of the 2009 Agreement. [See 2010 Agreement at §2.4].

      25.    Therefore, the Bid Procedures Motion’s reference to the University of

Michigan’s property; specifically, its description of Debtor’s assets as including

“all intellectual property, including the right to use the “M Den” name – if any, and

. . . all claims or causes of action related to the right to use the “M Den” name, [see




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the Bid Procedures Motion at ¶ 27], is inappropriate and should be stricken from

any order granting the Bid Procedures Motion.

      b.     The Bid Procedures Motion improperly suggests that Debtor is
             selling an avoidance action against the University of Michigan.

      26.    In the Bid Procedures Motion, Debtor improperly suggests that Debtor

transferred the M-Den name to the University of Michigan as of May 13, 2024 and

that this may be subject to an avoidable transfer. [See the Bid Procedures Motion,

at ¶ 28, fn. 7]. This fails factually and as a matter of law.

      27.    First, the limited rights granted to Debtor to use certain intellectual

property owned by the University of Michigan were pursuant to the 2009

Agreement and 2010 Agreement.              These agreements terminated at least two

months before the Petition Date. Accordingly, there is no basis for an avoidance

action, as the underlying transactions were merely terminations of contracts and

not transfers of property. See, e.g., In re VitaHEAT Medical, LLC, 629 B.R. 250,

260 (Bankr. N.D. Ill., 2021) (holding that “a contract’s termination is not an

avoidable transfer because it does ‘not operate to the prejudice of the legal or

equitable rights of the Debtor’s creditors’”) (quoting Metro Water & Coffee Servs.,

Inc. v. Rochester Cmty. Baseball, Inc., 157 B.R. 742, 747 (Bankr. W.D.N.Y. 1993).

When a contract is terminated, there has been no transfer, as defined by 11 U.S.C.

§ 101(54)(D), because there has been no “disposing of or parting with property”

that the trustee can recover. Instead, upon the contract termination, the debtor’s
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contractual rights have expired, and the “[p]ossession of expired rights is the

equivalent of the possession of no rights.” Sullivan v. Willock, 854 F.2d 196, 199

(7th Cir. 1988); see also Nathan v. Minardi, No. 17-12099, 2017 WL 5903457, at

*4 (E.D. Mich. Nov. 30, 2017) (stating that if a bankruptcy court were to hold that

a lease termination was an avoidable transfer under the Bankruptcy Code, it would

contravene the intent of the drafters of the Bankruptcy Code and muddy the

landscape for lessors dealing with insolvent debtors).

      28.    Second, to the extent that the University of Michigan was not already

the owner of all rights to the M-Den name, Debtor transferred any remaining rights

it may have had on May 13, 2024 pursuant to the Forbearance Agreement. That

transfer occurred more than 90 days prior to the Petition Date and cannot give rise

to a preferential transfer. Additionally, assuming a transfer occurred under the

Forbearance Agreement, to the extent Debtor attempts to argue that the

Forbearance Agreement gave rise to a fraudulent transfer, Debtor received

reasonably equivalent value for such transfer in the form of additional time to

negotiate the potential sale of its stock or assets to a third-party as a going concern

and to cure its defaults under the 2009 and 2010 Agreements. Arguably, the time

afforded to Debtor resulted in it being able to negotiate with the Stalking Horse

Bidder and allow due diligence to be conducted. See, e.g., In re 274 Atlantic Isles,

LLC, 651 B.R. 319 (Bankr. S.D. Fla. 2023) (holding that debtor received


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reasonably equivalent value for execution of deed-in-lieu of foreclosure naming

lender as grantee, for fraudulent transfer avoidance purposes, where debtor

bargained       away     its   redemption       rights    for    additional     time

under forbearance agreement to cure loan default).

      29.   Third, this Court has previously held that avoidance actions are not

assignable. See In re Clements Manufacturing Liquidation Company, LLC, 558

B.R. 187, 188-89 (E.D. Mich. Bankr. 2016) (whereby the Court noted that there is

a split in case law on whether avoidance actions are assignable and held that they

are not).   Therefore, any purported assignment of an avoidance action to a

prospective purchaser should be stricken.

      c.    Even if Applicable, the 2009 Agreement and 2010 Agreement
            cannot be assigned.

      30.   Not only is the M-Den name not property of Debtor’s estate, but also

the 2009 Agreement and 2010 Agreement are not property of Debtor’s estate

because the University of Michigan terminated these agreements well before the

Petition Date. Therefore, these are not executory contracts and are not proprety of

the estate. See, e.g., In re Jim Palmer Equipment, Inc., 2008 WL 5869690 (Bankr.

D. Mont. 2008) (stating that “[a] lease which is matured and expired prepetition is

not property of a debtor’s bankruptcy estate”); see also In re Pyramid Operating

Authority, Inc., 144 B.R. 795, 808 (Bankr. W.D. Tenn. 1992) (stating that “[i]t is



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well established that an agreement or contract which is validly terminated

prepetition under applicable state law is not assumable under section 365(a)”).

      31.    Even if the 2009 Agreement and 2010 Agreement were not terminated

pre-petition, Debtor’s rights to use the University of Michigan’s intellectual

property is limited to the rights granted by those Agreements. In re Coomer, 375

B.R. 800, 804 (Bankr. N.D. Ohio, 2007) (“[T]he estate’s interest remains identical

to and also limited to those interests held by the debtor when the petition was filed.

‘Whatever rights a debtor had at the commencement of the case continue into

bankruptcy-no more, no less.’”) (quoting Moody v. Amoco Oil Co., 734 F.2d 1200,

1213 (7th Cir. 1984)).

      32.    Under Section 365(a) of the Bankruptcy Code, a debtor may, subject

to court approval, assume and assign an executory contract. 11. U.S.C. §365(a).

However, a debtor’s power to assume or assign is subject to an exception

contained in section 365(c)(1), which excuses the non-debtor party of an executory

contract from rendering performance to or accepting performance from the would-

be assignee when applicable law excuses it from doing so:

             (c) the trustee [or debtor-in-possession] may not assume
             or assign an executory contract or unexpired lease of the
             debtor, whether or not such contract or lease prohibits or
             restricts assignment of rights or delegation of duties, if-
             (1) (A) applicable law excuses a party, other than the
             debtor, to such contract or lease from accepting
             performance from or rendering performance to an entity

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            other than the debtor or debtor in possession, whether or
            not such contract or lease prohibits or restricts
            assignment of rights or delegation of duties; and
            (B) such party does not consent to such assumption or
            assignment . . .
11 U.S.C. § 365(c).

      33.   Therefore, bankruptcy courts must look to federal trademark law as

the “applicable law” and determine whether a debtor can assign a license for

trademarks without the licensor’s consent. In re Kazi Foods of Michigan, Inc., 473

B.R. 887, 889 (Bankr. E.D. Mich., 2011).

      34.   It is well settled that federal trademark law prohibits a licensee from

assigning the license to a third party without the consent of the trademark owner.

Id. (“trademark law is an ‘applicable law’ that excuses a party, other than the

debtor, to such contract . . . from accepting performance from or rendering

performance to an entity other than the debtor or the debtor in possession”)

(quotations omitted).

      35.   The 2009 Agreement and the 2010 Agreement both had anti-

assignment language. [See Exhibit 1, 2009 Agreement, Acknowledgements at

4(d); see also Exhibit 2, 2010 Agreement, Terms at 20.3.]

      36.   The University of Michigan expressly objects, and does not consent

to, the assumption and assignment of the 2009 Agreement or the 2010 Agreement

in connection with the proposed bid. Therefore, even if the 2009 Agreement and


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2010 Agreement were not terminated pre-petition and were executory contracts,

they are nonetheless not assignable to the purchaser.

      d.     Debtor’s sale of its assets will not be free and clear of the
             University of Michigan’s right to enforce post-petition
             infringements of its intellectual property.

      37.    If Debtor continues to purport to sell the University of Michigan’s

intellectual property, any purchaser of Debtor’s assets risks liability for trademark

infringement.

      38.    Bankruptcy Code § 363(f) does not provide purchasers of a debtor’s

assets with immunity from claims for post-sale trademark infringement or similar

claims. See In re AutoStyle Plastics, Inc., 227 B.R. 797, 800 (Bankr. W.D. Mich.

1998) (“a sale free and clear does not include future claims that do not arise until

the conclusion of the bankruptcy proceeding”). Section 363(f) only applies to pre-

petition claims against the debtor. Any unauthorized sale of the University of

Michigan’s property or other infringements of the University of Michigan’s

trademarks, copyrights, or other intellectual property rights by the purchaser would

be a post-petition claim against the non-debtor purchaser. See, e.g., Schieffelin &

Co., v. Jack Co. of Boca, Inc., 725 F. Supp. 1314, 1319 (S.D.N.Y. 1989) (citing

Fair Mills v. T. Easton Co., 234 F.2d 633, 639 (2d Cir. 1956) (“in cases of

trademark infringement . . . the wrong takes place . . . when the passing off occurs;

i.e., where the deceived customer buys the defendant’s product”)).


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      39.    Accordingly, the University of Michigan objects to the Bid

Procedures Motion to the extent Debtor seeks to sell any property interest of the

University of Michigan free and clear of the University of Michigan’s right to

enforce post-petition infringements of its trademark, copyright, or related rights

against the purchaser.

      e.     The Bid Procedures and aggressive timeline are not in the best
             interests of creditors.

      40.    The primary goal of any sale of estate property is to maximize value

for the estate. In re Cormier, 382 B.R. 377, 388 (Bankr. W.D. Mich., 2008).

      41.    To effectuate that goal, courts allow bidding procedures that enhance

the competitive bidding process. Id. (“The purpose of procedural bidding orders is

to facilitate an open and fair public sale designed to maximize value for the

estate.”) (Citations omitted). However, the bidding procedures must be carefully

evaluated in an effort to ensure that they are enhancing the competitive sale

process and not dissuading other potential bidders from participating through

unnecessary barriers.    Id. (stating that the court “should be mindful to strike a

satisfactory balance between the relevant factors of fairness, finality, integrity, and

maximization of assets”) (citations omitted).

      42.    Here, both the form and substance of the bidding procedures impair

competition through the purported inclusion of non-estate assets, unnecessarily

aggressive timelines, and an unreasonable break-up fee.
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                 i. Improperly included assets creates confusion and ambiguity
                    as to the value assigned to Debtor’s actual assets.

      43.    By infringing upon the University of Michigan’s trademarks, as the

Bid Procedures Motion proposes, Debtor’s sale of its assets will cause additional

claims against the estate that may outweigh the value of any proceeds Debtor

would receive from the sale.

      44.    It is unclear from the term sheet submitted whether the proposed

Stalking Horse Bidder (as defined in the Bid Procedures Motion) has placed a

value on the M-Den name. In the event that the Stalking Horse Bidder’s bid did

assign value to the M-Den name and/or related claims to the name, then the

Stalking Horse Bidder may very likely claim it has not sufficiently received the full

benefit of its full purchase price if it does not actually receive the assets identified

by Debtor.

      45.    Thus, the purported inclusion of non-estate assets creates confusion

for interested buyers and has the potential to derail the overall sale approval

process.




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                   i. The aggressive timeline is not in the best interest of
                      creditors and will not maximize value for the estate.

        46.    Debtor filed the Bid Procedures Motion on August 27, 2024 and

requested that the Court set a hearing not more than eight days 3 later, on

September 4, 2024 to approve that motion on a final basis.               The remaining

deadlines that the Bid Procedures Motion requests are similarly aggressive, and the

University of Michigan objects to those deadlines as unreasonable and contrary to

the best interests of the creditors.

        47.    The interested parties, including the University of Michigan, have not

had sufficient time to vet fully the proposed procedures set forth in the Bid

Procedures Motion.

        48.    Similarly, other parties in interest do not have sufficient time to

evaluate the matter. The U.S. Trustee was accepting interest forms for unsecured

creditors to serve on the unsecured creditors’ committee (the “UCC”) through

Friday, August 30, 2024.        The formation of the UCC, retention of counsel, and

counsel’s evaluation of and potential objection to the Bid Procedures Motion all

essentially needed to occur between Saturday, August 31, and Tuesday, September

3, which was inclusive of the Labor Day holiday. This is an insufficient amount of

time for the UCC to determine if the Bid Procedures Motion is in the best interest


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 Given the federal holiday on September 2, the hearing was set only five business
days after the Bid Procedures Motion was filed.
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of the unsecured creditors, including the University of Michigan, which has an

unsecured claim over $8.5 million dollars.

      49.      Moreover, the proposed timeline does not give potential bidders

sufficient time to evaluate the transaction, as the deadline for submission of bids is

only two (2) days after the anticipated entry of the order approving the Bid

Procedures Motion.

      50.      The timeline should be adjusted to allow interested bidders enough

time to evaluate the terms on the transaction, which should lead to more bidders

actually participating in the sale process and maximizing value for the estate.

      51.      As it stands, the aggressive timeline and terms of the Bid Procedure

Motion heavily favor the Stalking Horse Bidder and discourage meaningful

competition.

      52.      For example, the Stalking Horse Bidder is contemplated to receive a

Break-Up Fee in the amount of $225,000.00 when no asset purchase agreement has

been made available and seemingly only an initial bid has been submitted. This

Break-Up Fee amounts to approximately five percent (5%) of the overall

contemplated purchase price. [See the Bid Procedures Motion at ¶ ¶ 28, 69.]

      53.      Bankruptcy courts have used several approaches in evaluating break-

up fees, but the reason that break-up fees can be appropriate does not seem to be

served here. See, e.g., In re JW Resources, Inc., 536 B.R. 193, 196 (Bankr. E.D.


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Ky., 2015) (“The stalking horse bidder spends substantial time and money

performing due diligence and negotiating an agreement. In bankruptcy auctions,

subsequent bidders will often forego due diligence because they gain the required

comfort from the willingness of the stalking horse bidder to enter into the proposed

agreement.”)

      54.   Additionally, assuming the Stalking Horse Bidder has done more than

simply submitting an initial bid, one way to evaluate the reasonableness of the

break-up fee is to compare the break-up fee to the total consideration paid. “Fees

in the range of 1% to 2% of the purchase price are often approved.” Matter of

Tiara Motorcoach Corp., 212 B.R. 133, 138 n. 6 (Bankr. N.D. Ind. 1997). Here,

the Break-Up Fee makes up approximately five percent (5%) of the overall

contemplated purchase price.

      55.   This stifles competition and is not consistent with a value-maximizing

process.

      56.   Moreover, the University of Michigan is aware that at least one other

bidder, Legends Global Merchandise, LLC (defined as the “Interested Party” in the

Bid Procedures Motion and hereinafter, “Legends”), is interested in the sale of its

assets and engaged in negotiations prior to the filing of the Bid Procedures Motion.

[See e.g. the Bid Procedures Motion, at ¶ 24]. The University of Michigan recently

learned that Legends submitted a bid over the Labor Day weekend, and the


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University of Michigan received a copy of the binding term sheet today, September

3, 2024 (“Legends Term Sheet”)4.

        57.    Pursuant to the Legends Term Sheet, Legends is proposing to pay

Debtor cash equal to 64% of Debtor’s inventory costs for inventory Debtor has at

closing. This is compared to the 62% set forth in Exhibit C to the Bid Procedures

Motion offered by the Stalking Horse Bidder. Further, Legends is not seeking any

expense reimbursement or a break-up fee.

        58.    While the University of Michigan has had minimal time to fully

evaluate the terms, it appears that the terms of the Legends Term Sheet may be

higher and economically better than the Stalking Horse Bid. Significantly, the

Legends Term Sheet does not require the Break-Up Fee, which is of substantial

benefit to the estate. This alone should necessitate Debtor to take a step back, re-

evaluate the process, and revise the Bid Procedures Motion to remove the Break-

Up Fee and other related protections offered to the Stalking Horse Bidder and/or

pivot to the Legends bid in an effort to ensure the process is as open and

competitive as possible to maximize value for the estate.

        59.    Accordingly, the University of Michigan seeks to ensure that (i) all

interested bidders have an opportunity to evaluate the transaction and participate in


4
 The University of Michigan is of the understanding that the Legends Term Sheet
will be remitted to the Court in a filing by Legends, if that has not already occurred
as of the time of the filing of this Objection.
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the sale; (ii) the Stalking Horse Bidder does not receive an unnecessary advantage

by way of a compressed schedule and a Break-Up Fee that harms competition and

stifles the overall sale price; and (iii) the sale maximizes value for all creditors.

      f.     The bid procedures order should include language protecting the
             University of Michigan’s property.

      60.    To the extent the Court grants the Bid Procedures Motion, the

University of Michigan respectfully requests that the Court add the following

language to Debtor’s proposed order:

             Notwithstanding any contrary language in the Bid
             Procedures Motion or this Order, Debtor cannot assume
             and assign, and the Purchaser cannot acquire, any license
             agreement by and between any Debtor and the University
             of Michigan without the University of Michigan’s
             express written consent.

             Notwithstanding any contrary language in the Bid
             Procedures Motion or this Order, nothing contained in
             this Order authorizes the transfer of any trademarks,
             intellectual property, goodwill, copyright, design patents,
             or any other property interests owned by the University
             of Michigan and used by Debtor under any licensing
             agreement by and between Debtor and the University of
             Michigan, inclusive of the M-Den name.

             Notwithstanding any contrary language in the Bid
             Procedures Motion or this Order, nothing contained in
             this Order authorizes the transfer of any preference or
             avoidance actions against the University of Michigan
             relating to any transfers of Debtor’s rights, if any, in the
             M-Den name and URL, as contemplated in the
             Forbearance Agreement, to any purchaser of Debtor’s
             assets.


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             Notwithstanding any contrary language in the Bid
             Procedures Motion or this Order, nothing contained in
             this Order shall release or discharge or otherwise prevent
             or impair the University of Michigan (or any affiliate of
             the same) from taking any action under applicable law to
             protect its trademark, copyright, or other intellectual
             property rights in respect of any activity occurring after
             entry of this Order, including but not limited to asserting
             any claim for trademark infringement, misappropriation,
             dilution, gray market, or any other claim under state or
             federal law, against the purchaser or any parent,
             subsidiary, affiliate, or successor of the same.

             Any purported conveyance of property bearing the
             trademarks or other intellectual property of the
             University of Michigan is without the University of
             Michigan’s consent.

      61.    Additionally, the University of Michigan requests that the deadlines

proposed in the Bid Procedures Motion be extended to give parties in interest a

reasonable amount of time to investigate Debtor’s requested relief and that the

Break-Up Fee be stricken.

                               III.   Reservation of Rights

      62.    The University of Michigan reserves the right to supplement or amend

this Objection.

                                      IV.   Conclusion

      WHEREFORE, the University of Michigan respectfully requests that:

      (a)    that any order entered with respect to the Bid Procedures Motion

             address the objections set forth herein; and


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     (b)    for such other and further relief as this Court deems just and proper.


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